 

 

ee
Case 2:17-cr-20595-VAR-EAS ECF No. 203 filed 06/18/20 PagelD.3547 Page1of3

i
Cn. eee in cree
Uy Sy ioe bn

fe | SovTHEaN: DI ake N ag | is jet

 

| ON\Teo state's oF AtheaicA .
} Plainhet,

[YS le Oe 17-2.0595 |

 

 

 
|
" Case 2:17-cr-20595-VAR-EAS ECF No. 203 filed 06/18/20 PagelD.3548 Page 2 of 3

a ab: \; jogo pO +1... Siig neeab le code Se

  

tenia Seoods, of {eo esha, mace f nS ak LEDS Ch Kern From. jad

129 gosta, Gare s Sadcoustel Rx Wa uo. Keon. U) tA, out oot. toovkedae
OF Sonsson. Wovad : a ee ECACC * ccauestatle

 
 
 
    
 

 

    
   

Sosy yao Se.

SAAS igh ie

"i i Say hm Si mere = - oe -

ei) 42

 
aA

o2 ee e

Case 2:17-cr-20595-VAR-EAS ECF No. 203 filed 06/18/20 PagelD.3549 Page 3 of 34

é

 

  

 

 

       

[Ow 1V9

Upeeggegfecafe[pefyatit aaltepet Stosis— sera

2CC8H WW 4leugaq
Prd 2K] MN Se

SI YFIOY -y ee

 

 
